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                  13   Pacific Coast Luggage, Inc.
                       And Scott Oh
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                  15                                  UNITED STATES DISTRICT COURT
                  16                             CENTRAL DISTRICT OF CALIFORNIA
                  17
                       LUGGAGE AMERICA, INC., a                     CASE NO. CV 08-04103 VBF (PJWx)
                  18   California corporation,
                                                                    [Hon. Valerie Baker Fairbank]
                  19                     Plaintiff,
                                                                    ORDER AND FINAL JUDGMENT
                  20           v.
                  21   PACIFIC COAST LUGGAGE, INC., a
                       California corporation and SCOTT OH, Complaint Filed: June 20, 2008
                  22   an individual,
                  23                     Defendant.
                  24
                  25
                  26           The Court having received and reviewed the parties’ Stipulated Judgment
                  27   and Permanent Injunction, IT IS ORDERED, ADJUDGED AND DECREED:
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    LOS ANGELES        WEST\21695275.1                                                              EXHIBIT A
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                   1           1.        On the patent infringement of Luggage America, Inc.’s (“Luggage
                   2   America”) Patent Nos. 6,923,352 (“‘352 Patent”); D489,531 (“‘531 Patent”); and
                   3   D530,513 (“‘513 Patent”) (collectively, “Patents-in-Suit”), Judgment is entered in
                   4   favor of Luggage America against Defendants Pacific Coast Luggage, Inc. (“PCL”)
                   5   and Scott Oh (“Oh”) in the amount of One Hundred Fifty Thousand Dollars
                   6   ($150,000.00), to be paid to Luggage America in two (2) installments, the first
                   7   seventy-five thousand ($75,000.00) within ten (10) days of the Parties’ execution of
                   8   the settlement agreement in this matter, dated April 7, 2009 (“Settlement
                   9   Agreement”); and the second seventy-five thousand ($75,000.00) within thirty (30)
                  10   days of execution of the Settlement Agreement.
                  11           2.        A permanent injunction with regard to the Patents-in-Suit is entered as
                  12   follows:
                  13           PCL, its subsidiaries, affiliates, related companies, officers, agents, servants,
                  14   employees, attorneys, confederates, successors and assigns and Oh, his heirs,
                  15   successors, agents and assigns, and all persons previously acting, now acting, or
                  16   acting in the future for, with, by, through, under, in active concert with or in
                  17   participation with, any of the foregoing, and who receive actual notice of this
                  18   injunction, shall be and hereby are permanently ENJOINED from:
                  19                     a.    Making, using, selling or offering to sell, or importing into the
                  20   United States, the RBP 6040 and RBP 6020 products that infringe upon the Patents-
                  21   in-Suit;
                  22                     b.    Making, using, selling or offering to sell, or importing into the
                  23   United States, any rolling backpack product that is insubstantially different from the
                  24   RBP 6040 and RBP 6020.
                  25           3.        Notwithstanding the foregoing provision, the parties agree that the
                  26   rolling backpack product sold under the Model No. RBP 4050, a representative
                  27   sample of which having been identified to the Defendants, shall not be subject to
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                   1   this injunction so long as said Model No. RBP 4050 is not subsequently modified to
                   2   incorporate additional features of the Patents-In-Suit.
                   3           4.        Each party to bear their own costs and attorneys’ fees.
                   4           5.        This Court shall have continuing jurisdiction to enforce this Judgment
                   5   and Permanent Injunction.
                   6
                   7        IT IS SO ORDERED.
                   8
                   9
                       Dated: April 10, 2009                           By ____________________________
                  10                                                   Honorable Valerie Baker Fairbank
                  11                                                   United States District Judge
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    LOS ANGELES        WEST\21695275.1                                                                EXHIBIT A
